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              UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                   Case No. 3:20cr55/TKW

CHRISTAIN HAKEEM PARSON
                                       /

                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the magistrate judge, to which

there have been no timely objections, the plea of guilty of the Defendant,

CHRISTAIN HAKEEM PARSON, to Count One of the Indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as directed.

      DONE AND ORDERED this 8th day of March 2021.

                                      T. Kent Wetherell, II
                                     T. KENT WETHERELL, II
                                     UNITED STATES DISTRICT JUDGE
